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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  TRAVIS COLE,

         Plaintiff,

  v.

  BOULDER COUNTY, COLORADO;
  SHERIFF JOE PELLE, in his individual and official capacity;
  COMMANDER LYDIA MITCHELL, in her individual and official capacities;
  COMMANDER GENO MARTINEZ, in his individual and official capacities;
  SERGEANT CHRISTOPHER MECCA, in his individual and official capacities;
  DEPUTY CLAYTON DOMANICO, in his individual and official capacities;
  DEPUTY JOHN FINKBINER, in his individual and official capacities;
  DEPUTY AMMIE HOWLAN, in her individual and official;
  DEPUTY JOEL FUNDARO, in his individual and official capacities;
  DEPUTY SEAN METCALF, in his individual and official capacities;
  DEPUTY JEREMY MCDANIEL, in his individual and official capacities;
  DEPUTY JAMES LONG, in his individual and official capacities;

        Defendants.
  ______________________________________________________________________________

                         COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________

         Plaintiff Travis Cole, by and through counsel, Mari Newman and Andy McNulty of

  KILLMER, LANE & NEWMAN, LLP, alleges for his Complaint and Jury Demand as follows:

                                        INTRODUCTION

         1.      Plaintiff Travis Cole was fully restrained when he was brutally tased by Boulder

  County Sergeant Chris Mecca. Despite the fact that Mr. Cole presented no threat whatsoever,

  multiple other Boulder County deputies looked on and did nothing to intervene to stop their

  sergeant from sadistically punishing a fully-restrained person without any legitimate penological

  justification. Mr. Cole’s tasing was not an aberration within the Boulder County Jail (“BCJ”) or
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  within the behavior of Defendant Mecca. This Boulder County sergeant’s tasing of a person who

  was fully restrained came on the heels of Boulder County Sheriffs tasing Lauren Gotthelf (who

  was also fully restrained), demonstrating BJC’s disturbing custom and practice of aggressive

  punishment of inmates through restrained tasings. And, Defendant Mecca was particularly

  known for his propensity for escalating situations with inmates, and BCJ command staff was

  aware that he had openly complained when it was announced in the BCJ that Boulder County

  had settled Ms. Gotthelf’s legal claims for the exact same misconduct, paying Ms. Gotthelf

  $400,000. Defendants’ unconstitutional tasing of Mr. Cole was far from unpredictable:

  Defendant Mecca acted just as Boulder County expected him to act based on both his vocal

  opposition to the Gotthelf settlement that very day, and Boulder’s repeated condoning of his

  repeated unconstitutional conduct in the past. Boulder County knew, based on his past behavior,

  that Defendant Mecca was a ticking timebomb. Defendant Mecca’s supervisors were unsurprised

  when they learned he had brutalized Plaintiff.

         2.      Because of this, not only is Defendant Mecca liable, but so are the officials who

  stood by and watched him tase Plaintiff, the supervisors who knew that Defendant Mecca had a

  repeated history of escalating situations and using excessive force but did not take any formal

  action to prevent him from continuing to do so, and Boulder County itself for allowing

  Defendant Mecca to work in a supervisory role despite his repeated failures to follow policy and

  accept counseling from his superiors, along with his frequent and vocal defiance of policy and

  procedure.

         3.      Defendants’ abuse of Plaintiff was a clear and grave injustice for which

  Defendant Mecca, Boulder County, and all of the officials involved in Plaintiff’s tasing must

  take full accountability.


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                                    JURISDICTION AND VENUE

          4.      This action arises under the Constitution and laws of the United States and the

  State of Colorado and is brought pursuant to Title 42 U.S.C. § 1983, 42 U.S.C. § 12132, et seq.,

  and 29 U.S. § 701, et seq.

          5.      Jurisdiction is conferred on this Court pursuant to 28 U.S.C. § 1331.

          6.      Jurisdiction supporting Plaintiff’s claim for attorneys’ fees and costs is conferred

  by 42 U.S.C. § 1988 and C.R.S. § 13-21-131.

          7.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

  of the events alleged herein occurred within the State of Colorado, and all of the parties were

  residents of the State at the time of the events giving rise to this litigation.

          8.      Supplemental pendent jurisdiction is based on 28 U.S.C. § 1367 because the

  violations of federal law alleged are substantial and the pendent causes of action derive from a

  common nucleus of operative facts.

                                                PARTIES

          9.      Plaintiff, Travis Cole, is a citizen of the United States and was at all relevant

  times a resident of and domiciled in the State of Colorado.

          10.     Boulder County is a governmental entity chartered under the laws of the State of

  Colorado. Among other things, Boulder County operates the Boulder County Jail (“the Jail” or

  “BCJ”), located at 3200 Airport Road in Boulder, Colorado.

          11.     At all times relevant to this Complaint, Defendant Sheriff Joe Pelle was a citizen

  of the United States, resident of and domiciled in the State of Colorado and was acting under

  color of state law in his capacity as the Boulder County Sheriff. Defendant Pelle in his official

  capacity, is a final policymaker for Boulder County with respect to all matters concerning the


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  Boulder County Sheriff’s Office and all of its divisions, including the BCJ. Defendant Pelle was

  responsible for training and supervising all other Defendants and other employees of Boulder

  County working at the jail, for setting jail policy for the county, the overall management of the

  jail, and for insuring the health and welfare of all persons detained in the BCJ.

          12.     At all times relevant to this Complaint, Defendants Commander Lydia Mitchell,

  Commander Geno Martinez, Sergeant Christopher Mecca, Defendant Clayton Domanico,

  Defendant John Finkbiner, Defendant Ammie Howlan, Defendant Joel Fundaro, Defendant Sean

  Metcalf, Defendant Jeremy McDaniel, and Defendant James Long, respectively, were each a

  citizen of the United States, resident of and domiciled in the State of Colorado and were each

  acting under color of state law in their respective capacities as law enforcement officers

  employed by Boulder County.

                                     FACTUAL ALLEGATIONS

          Boulder County officials subjected Plaintiff to excessive force clearly meant to
          cruelly punish him at the BCJ.

          13.     Just before midnight on September 22, 2020, officers of the Longmont Police

  Department arrested Mr. Travis Cole on a handful of misdemeanor charges and delivered him to

  the Boulder County Jail for booking. Upon arrival at the jail early in the morning of September

  23, 2020, the Longmont officers transferred custody and control of Mr. Cole to Boulder County

  deputies in the jail sally port.

          14.     Defendant Clayton Domanico and Defendant John Finkbiner removed Mr. Cole

  from the Longmont patrol vehicle and walked him to the mat where Boulder County personnel

  pat down arriving arrestees. As they arrived at the mat, Mr. Cole knelt to the ground, and the

  deputies decided to move him to a waiting restraint chair, which they accomplished without

  incident.

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         15.     Numerous Boulder County personnel surrounded Mr. Cole, including at least

  Defendant Domanico, Defendant Finkbiner, Defendant Ammie Howlan, Defendant Joel

  Fundaro, Defendant Sean Metcalf, Defendant Jeremy McDaniel, and Defendant James Long, and

  together they worked to secure Mr. Cole in the chair at the direction of Defendant Mecca.

         16.     Mr. Cole offered some mild passive resistance once confronted with the

  humiliation and discomfort of the restraint chair, including moving his upper body, blowing

  raspberries at the deputies, and holding a spit mask in his mouth. However, Mr. Cole was heavily

  outnumbered and outmuscled by the crowd of Defendants, who were able to secure all of Mr.

  Cole’s limbs to the restraint chair in the space of approximately two minutes and ten seconds. As

  Defendants placed a pair of spit masks over Mr. Cole’s head, Mr. Cole began to shout in distress.

         17.     At this point, though all four of Mr. Cole’s limbs were secured to the restraint

  chair and deputies had almost secured an additional shoulder strap on him, Defendant Mecca

  began to verbally taunt the helpless Mr. Cole, seeking to provoke aggression from the fully

  restrained arrestee by repeatedly challenging him to resist Defendant Mecca and the other

  Defendants restraining him. Simultaneously, Defendant Mecca placed his taser against Mr.

  Cole’s leg, threatening to drive stun him.

         18.     It was obvious to all present that Mr. Cole had been completely restrained in the

  chair and spit masks, and could not break free from the chair or do anything but sit there with all

  four points restrained. Further, Mr. Cole was surrounded by at least eight Boulder County

  deputies, including Defendant Domanico, Defendant Finkbiner, Defendant Howlan, Defendant

  Fundaro, Defendant Metcalf, Defendant McDaniel, and Defendant Long, as well as two

  Longmont officers. Mr. Cole obviously lacked the means to resist the so-called “chairing”; he




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  could not use any of his limbs, could not spit, and indeed could not do anything at all beyond yell

  and shift his shoulders around.

             19.   As Defendant Mecca taunted Mr. Cole, held a taser to his leg, and threatened him

  with activating the taser, Defendant Domanico, Defendant Finkbiner, Defendant Howlan,

  Defendant Fundaro, Defendant Metcalf, Defendant McDaniel, and Defendant Long watched.

  Defendant Domanico, Defendant Finkbiner, Defendant Howlan, Defendant Fundaro, Defendant

  Metcalf, Defendant McDaniel, and Defendant Long all saw Defendant Mecca with his taser out,

  and against Mr. Cole’s leg, yet did nothing to intervene, even though there was no conceivable

  justification for Defendant Mecca’s threat to tase Mr. Cole. Defendant Domanico, Defendant

  Finkbiner, Defendant Howlan, Defendant Fundaro, Defendant Metcalf, Defendant McDaniel,

  and Defendant Long did not tell Defendant Mecca to back off, stop speaking with Mr. Cole, re-

  holster his taser, or take any action to de-escalate the situation (or ensure that Defendant Mecca

  did not activate his taser and electrocute Mr. Cole, who was clearly fully restrained and not a

  threat).

             20.   Then, while continuing to taunt Mr. Cole, Defendant Mecca activated his taser

  and electrocuted Mr. Cole, watching his restrained body shake and writhe for approximately five

  seconds—an act of sheer cowardly sadism with no conceivable legitimate law enforcement or

  penological purpose, and a certain infliction of excessive force.

             21.   Having already exerted unjustified physical force against Mr. Cole, Defendant

  Mecca subjected Mr. Cole to a variety of further taunts and insults, apparently unsatisfied with

  the cruelty he had already inflicted.

             22.   A few seconds later, Defendant Mecca threatened to follow Mr. Cole to the

  holding cell for the implied purpose of physically fighting Mr. Cole before again taunting him.


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  Defendant Mecca went so far as to actually follow Mr. Cole as another Defendant wheeled the

  restraint chair out of the sally port and into a cell, for no purpose other than to make a machismo-

  fueled proclamation that he wasn’t afraid of Mr. Cole. Indeed, one would be surprised to find

  that a trained sheriff sergeant armed with a taser and a full team of deputies was afraid of a fully

  restrained, spit mask-bound man with zero agency over his own movement. There was no

  legitimate law enforcement or penological basis for Defendant Mecca to continue threatening

  and taunting Mr. Cole.

          23.     Defendants left Mr. Cole in the restraint chair, fully restrained and in an isolation

  cell, for four hours.

          24.     Incredibly, Defendant Mecca reported to his superiors in an email after the

  incident that he had chosen to tase Mr. Cole while he was fully restrained, and not use other

  methods of applying force, because Mr. Cole is a Black man. Had Plaintiff been White,

  Defendant Mecca would not have tased him. There was no legitimate law enforcement or

  penological reason to use a taser against Mr. Cole because he is a Black man.

          25.     In contrast with all of the Boulder County deputies who both failed to intervene

  and went on to express their support of Defendant Mecca’s brutality against Mr. Cole, the

  Longmont Police Department (LPD) officers who witnessed Defendant Mecca’s cruel use of


  excessive force against Mr. Cole were stunned. LPD Officers Jeff Davis and James Guerrero

  transported Plaintiff to the Boulder County Jail and witnessed the taser usage by Defendant

  Mecca. Shortly after leaving the jail, the pair of Longmont officers discussed the incident and

  decided to speak with their own sergeant at LPD regarding their concerns about the taser

  deployment by Defendant Mecca. Both found Defendant Mecca’s use of force to be excessive


  and extremely concerning. Because of this, they reported it up their chain of command as they
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  believed that they may have had a legal obligation to make such a report. LPD Sergeant Augie

  Bernal found his officers’ reports so concerning that he called Defendant Mecca at the jail to


  obtain an explanation for Defendant Mecca’s use of force, only to find that Defendant Mecca


  was defensive and offered no valid rationale.

           26.    Because of the outcry by LPD Officers, Defendant Mecca would ultimately be

  fired and prosecuted for his torture of Plaintiff. He was convicted of third-degree assault and

  official misconduct on December 3, 2020.

           27.    As the words and actions of both Defendant Mecca’s superiors and subordinates

  demonstrate, Defendant Mecca’s sadistic, unjustified assault on Mr. Cole was emblematic and

  symptomatic of Boulder County’s lax discipline, woefully insufficient supervision, subpar

  training, and especially of its reckless, dangerous tolerance for a defiant and intemperate

  employee in a position of lawful authority and ethical responsibility.

           Multiple Boulder County officials failed to intervene to stop the obvious use of
           excessive force against Mr. Cole by Defendant Mecca.

           28.    Defendants Domanico, Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and

  Long participated in the process of strapping Mr. Cole down to the restraint chair. Each of the

  involved deputies stood within mere feet of the taser when Defendant Mecca first threatened to

  tase Mr. Cole, when Defendant Mecca actually did tase Mr. Cole, and in the aftermath of the

  tasing during which Defendant Mecca continued to insult Mr. Cole and threaten to physically

  assault him. Each of the involved deputies observed Defendant Mecca’s threats and ultimate act

  of sadistic brutality. They stood by as Mr. Cole was left strapped in a restraint chair for four

  hours.



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         29.     Yet, not one of the involved deputies took any action of any kind to prevent

  Defendant Mecca’s use of excessive force before it happened, or while it happened. Nor did any

  of the involved deputies take any action to separate Defendant Mecca from Mr. Cole after the

  use of excessive force in order to prevent further potential abuse, even though Defendant Mecca

  angrily followed Mr. Cole from the sally port to his cell to continue to threaten and verbally

  abuse him.

         30.     As detailed below, several of the involved deputies would later report to

  investigators that they believed Defendant Mecca’s deployment of the taser against a fully

  restrained Mr. Cole was appropriate under the circumstances, that they believed that Defendant

  Mecca’s use of force was within Boulder County policy, and that they did know that there was a

  policy prohibiting Defendant Mecca’s actions—but believed that Defendant Mecca’s taser

  application was justified regardless of whether it violated that policy.

         31.     Defendant McDaniel reported to investigators after the incident that he had

  stepped back from the restraint chair during the use of force so that he could better observe what

  was happening and saw both that the taser was placed against Mr. Cole’s leg and that the taser

  was eventually activated. Defendant McDaniel further stated that he did not know that Boulder

  County policy forbade the use of a taser as Defendant Mecca applied it.

         32.     Similarly, Defendant Long said after the incident that he saw Defendant Mecca

  use his taser with a drive stun to Mr. Cole’s left quad, yet did nothing to intervene. Defendant

  Long stated after the incident that, in his opinion, the use of the taser against Mr. Cole was

  absolutely necessary.

         33.     Sometime after the use of force against Mr. Cole, Defendant Mecca summoned

  Defendants Domanico, Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and Long to a


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  debriefing. Defendant Mecca commented during that debriefing that he would challenge anyone

  else to try to restrain Mr. Cole properly without using the taser. Defendant Long described the

  debrief as positive and noted that Defendants Domanico, Finkbiner, Howlan, Fundaro, Metcalf,

  McDaniel, and Long decided that it would’ve been hard to get that individual down without

  using the taser, thereby affirming Defendant Mecca’s decision to tase Mr. Cole. Defendants

  Domanico, Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and Long supported the taser use

  by Defendant Mecca, and that is clear both from their statements after the incident and their

  action during the incident (failing to intervene to prevent Defendant Mecca’s tasing of Mr. Cole).

         34.     Defendants’ callous and reckless disregard of Mr. Cole’s rights stands in stark

  contrast to the actions of the Longmont Police Department (LPD) officers who witnessed

  Defendant Mecca’s cruel use of excessive force against Plaintiff and reported it.

         Defendant Mecca’s supervisors at the BCJ were on notice of Defendant Mecca’s
         inability to control his temper, his express anger and disagreement with the
         settlement of the Gotthelf matter for the exact same conduct, and his frequent
         defiance toward Boulder County’s and Defendant Pelle’s policies and procedures
         long before he tased Mr. Cole.

         35.     As detailed above, not a single involved Defendant made comment as to the

  illegality of the tasing, much less concern for Mr. Cole’s health, well-being, dignity, or rights in

  the course of the investigation of Defendant Mecca’s use of excessive force against Mr. Cole. To

  the contrary, some made comment that they believed Defendant Mecca had acted in good faith

  and that they hoped he would not be severely punished for his actions.

         36.     Consistent with the training and supervision they had received by Boulder,

  Defendants Domanico, Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and Long’s attitudes

  reflected that of Defendant Mecca—that inmate compliance is the paramount goal of detention

  officers as opposed to treating inmates in a manner consistent with the Constitution or with


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  respect. They believed Defendant Mecca had acted in good faith and did not believe that he

  should be punished for his actions under Boulder County’s and Defendant Pelle’s policies,

  customs, and practices. They likely believed this because, in the past and in accordance with

  Boulder County’s and Defendant Pelle’s unwritten customs and practices, Defendant Mecca (and

  others) had not been disciplined for engaging in similar excessive uses of force and escalations

  relating to inmates.

         37.     It was also well-known within Boulder County that Defendant Mecca was

  someone who had a quick temper, escalated situations with inmates, struggled to separate

  personal frustrations from work performance and took a punitive and forceful approach to the

  slightest inmate disobedience. Boulder County and Defendant Pelle were well aware of

  Defendant Mecca’s history prior to the incident involving Mr. Cole. Despite this, Boulder

  County, and its supervisory officials including Defendants Pelle, Mitchell, and Martinez, did not

  take any action to formally discipline Defendant Mecca to send a message that unconstitutional

  behavior was not tolerated. Instead, Boulder County and Defendant Pelle promoted Defendant

  Mecca to a supervisory position. It was because of these actions that, on the night of the incident

  involving Mr. Cole, Defendant Mecca was the supervisor on-duty and knew that he could

  escalate the situation with Mr. Cole, and use excessive force, without risk of any formal

  discipline. The failure of Boulder County and Defendant Pelle to properly supervise and

  discipline Defendant Mecca caused the violation of Mr. Cole’s constitutional rights.

         38.     One of Defendant Mecca’s former supervisors, Defendant Lydia Mitchell, a

  commander who supervised Defendant Mecca approximately two and a half years prior to the

  tasing of Mr. Cole, knew before the incident, and told investigators after the incident, that

  Defendant Mecca believed the jail should be operated in accordance with his military detention


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  training rather than as a helping, social work-type environment. She added that Defendant Mecca

  would like the jail personnel to be more strict and believed that if Boulder County were more

  strict, that would cause the people in the jail to learn a lesson and become more compliant.

         39.     Defendant Mecca’s apparent failings as a leader and law enforcement officer were

  not merely philosophical. Defendant Mitchell told investigators that Defendant Mecca did not

  accept Boulder County’s way of operating a jail, and that he liked to challenge the policies of

  Boulder County often. Defendant Mitchell further stated that Defendant Mecca failed to accept

  repeated counseling from her and from his supervisor at the time of the tasing, Defendant Geno

  Martinez (another commander with Boulder County), regarding his temperament and tactics. She

  also indicated that she had multiple conversations with Defendant Mecca about his attitude,

  about the importance of thinking before he acted, and about the responsibilities of a supervisor.

  Despite this, neither Defendant Mitchell nor Defendant Boulder County ever formally

  disciplined Defendant Mecca for his repeated problematic conduct, nor did they prevent

  Defendant Mecca from continuing to interact with inmates.

         40.     Defendant Martinez told investigators that he had counseled Defendant Mecca for

  taunting an uncooperative arrestee within a year of his taunting and tasing of Mr. Cole.

  Defendant Martinez stated that Defendant Mecca needed to learn how to deal with people—a

  rather glaring deficiency in a jail sergeant. Despite this, neither Defendant Martinez nor

  Defendant Boulder County ever formally disciplined Defendant Mecca for his repeated

  problematic conduct, nor did they prevent Defendant Mecca from continuing to interact with

  inmates.

         41.     Both Defendant Martinez and Defendant Mitchell knew that Defendant Mecca

  had poor control of his temper. Defendant Mitchell knew that Defendant Mecca had never


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  developed the ability to control himself when confronted by difficult or annoying inmates, a

  quality that she acknowledged as especially important for supervisors. Defendant Mitchell also

  knew that Defendant Mecca had always struggled to keep his composure, and to understand how

  and when to withdraw from a situation in which an inmate caused him to lose his temper.

           42.     And demonstrating leadership’s awareness that Defendant Mecca was unwilling

  to follow direction—and Defendant Mecca’s knowledge that it was illegal to tase a restrained

  inmate—Defendant Martinez’s final interaction with Defendant Mecca prior to the tasing that

  would lead Longmont police officers to report Defendant Mecca’s use of excessive force against

  Mr. Cole consisted of an apparently unsuccessful attempt to calm Defendant Mecca’s poorly

  controlled emotions regarding the very issue of consequences for tasing a restrained inmate. In

  the evening on September 22, 2022, Defendant Martinez met with Defendant Mecca for an

  unofficial counseling session, during which Defendant Mecca was upset and angered by an email

  informing him that the county had settled legal claims brought by Lauren Gotthelf 1 who had

  been tased by a Boulder County official while fully restrained in a restraint chair and as multiple

  other officials stood by and did nothing. In other words, on the night that he tased Plaintiff while

  he was fully restrained, Defendant Mecca was incensed about the County’s settlement of claims

  of excessive force by an inmate who was tased in the exact same scenario as Mr. Cole.

  Defendant Martinez knew this, yet did nothing to prevent Defendant Mecca from continuing to

  work on the night of September 22, 2022. He did not discipline Defendant Mecca for his

  unprofessional conduct. Instead, he turned Defendant Mecca loose in the BCJ where he took out

  his anger about the settlement on Mr. Cole – subjecting him to the very same excessive force that

  had just cost Boulder taxpayers $400,000 and forced changes in policy and training. Boulder



  1
      Undersigned counsel also represented Ms. Gotthelf in her suit against Boulder County.
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  County’s and Defendant Pelle’s failure to supervise and discipline Defendant Mecca, through

  Defendant Martinez (or any of his other supervisors), caused the violation of Plaintiff’s rights.

         43.     Ultimately, despite their extensive knowledge of Defendant Mecca’s inability to

  control his temper, his frequent insistence on a harsh carceral approach, his history of

  exceedingly poor leadership, and his expressed disagreement over Boulder’s decision to take

  accountability for tasing another restrained inmate by settling her legal claims, Defendant

  Mecca’s supervisors at the Boulder County continued to allow him opportunity after opportunity

  to hold a position of significant responsibility, authority, and power over members of the public

  until finally he was allowed to commit a criminal assault on Mr. Cole with the support of a

  crowd of his subordinates. Defendant Mitchell acknowledged that it was well-known within

  Boulder County, and the BCJ, that Defendant Mecca had been given multiple chances by

  Boulder County with no formal discipline for behavior that was problematic.

         Boulder County has a history of condoning its officials’ use of excessive force,
         through tasing, against inmates within the BCJ.

         44.     Unfortunately, Mr. Cole’s experience is abhorrent, but not aberrant. In addition to

  the excessive force used against Mr. Cole, Boulder County law enforcement officers have

  unlawfully used excessive force against other citizens.

         45.     In one example of the routine misuse of tasers, resulting in excessive force against

  inmates within the BCJ by Boulder County officials, on November 25, 2017, Boulder sheriffs

  handcuffed Lauren Gotthelf behind her back, pinned her to a restraint chair, surrounded her by at

  least six Boulder County officials, and then subjected her to grossly excessive force. Though Ms.

  Gotthelf did not resist or threaten the officers in any way, the Boulder County officials

  repeatedly subjected her to obviously unreasonable force and extreme pain, culminating in one

  sergeant tasing her despite the fact that she was fully restrained and could not move. There was

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  no legitimate or penological reason to tase Ms. Gotthelf. The Boulder County officials who tased

  Ms. Gotthelf were never disciplined for their actions. Ms. Gotthelf’s case is a direct analogue for

  Boulder’s treatment of Mr. Cole, and predated it by only three years. And, in fact, her case, and

  the failure of Boulder County to properly discipline its officials as a result, directly led

  Defendant Mecca to brutalize Mr. Cole. Defendant Mecca believed that he would not suffer any

  discipline for doing what he did to Mr. Cole, as he was not even disciplined for become incensed

  and complaining about the settlement of Ms. Gotthelf’s case. Ms. Gottehelf settled her legal

  claims against Boulder County, and its officials, for $400,000.

         46.     Additionally, throughout 2016, Boulder County officers at the Boulder County

  Jail repeatedly used excessive force against Ryan Partridge. Mr. Partridge is severely mentally

  ill, and all the officers at the jail were aware of his condition. Even so, the officers repeatedly

  unreasonably tased Mr. Partridge without justification. They did so at least seven times over the

  span of just over nine months, and each tasing was accompanied by additional forms of

  excessive force from one or more other Boulder County jail officers who was present. On one of

  these occasions, Boulder County Jail officers tased Mr. Partridge while he was fully restrained in

  a restraint chair, just as they did Ms. Gotthelf and Mr. Cole.

         47.     Boulder County officers have engaged in a persistent custom and practice of

  unconstitutional conduct by law enforcement, and the officials responsible for assuring that such

  misconduct does not occur have consistently failed to properly train, supervise, and discipline

  individual officers who have engaged in such misconduct.

         48.     The Boulder County Defendants’ failure to find wrongdoing and failure to

  discipline officers in this case, and in the cases of Mr. Partridge and Ms. Gotthelf, reflects a

  custom, policy or practice of ratifying blatantly illegal and improper conduct. These ratifications


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  evidence that such police conduct is carried out pursuant to the regimen of training provided by

  Boulder, and that such conduct is customary within the Boulder County.

           49.   It is Boulder County’s and Defendant Pelle’s responsibility to properly train

  Boulder County officers to ensure they perform their duties correctly and to discipline, rather

  than ratify, their improper conduct, so that officers can learn from their mistakes (and the

  mistakes of their colleagues) and perform their jobs correctly moving forward, and to serve as an

  example so that other officers will be made aware that the use of excessive force is not

  acceptable. Boulder County’s and Defendant Pelle’s failure to do so has led to its officers’

  unconstitutional conduct and will predicably lead to more unconstitutional conduct in the future.

                             STATEMENT OF CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                       42 U.S.C. § 1983 – Fourteenth Amendment Violation
                                          Excessive Force
                                      Against All Defendants

           50.   Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

  Claim.

           51.   Each of the individually named Defendants was acting under color of state law in

  their actions and inactions at all times relevant to this Claim.

           52.   At the time when Defendants tased Plaintiff, Plaintiff had a clearly established

  Fourteenth Amendment right, as a pre-trial detainee, to be secure in his person from the use of

  excessive force.

           53.   Any reasonable law enforcement or correctional officer knew or should have

  known of this clearly established right.




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          54.     Each individually named Defendant engaged in use of force that was objectively

  unreasonable based on the facts and circumstances confronting them, violating Plaintiff’s

  Fourteenth Amendment rights.

          55.     Each individually named Defendant took an active part in the use of force, and no

  Boulder County Defendant intervened to prevent their fellow officers’ use of obviously

  excessive force.

          56.     Defendants Boulder County and Pelle had a duty to train and supervise sheriffs,

  staff sergeants, captains, and other jail personnel on reasonable use of force against pretrial

  detainees.

          57.     Defendants Boulder County and Pelle failed to discharge this duty, causing the

  use of excessive force against Plaintiff.

          58.     Defendants Boulder County and Pelle acted recklessly, intentionally and with

  deliberate indifference to the constitutional rights of Plaintiff in failing to adequately train and

  supervise Defendant sheriffs, staff sergeants, captains, and other jail personnel.

          59.     Defendants Boulder County’s and Pelle’s failure to properly train and supervise

  his subordinates was the moving force and proximate cause of the violation of Plaintiff’s

  constitutional rights.

          60.     Defendants’ respective actions and inactions, as described herein, were

  undertaken intentionally, maliciously, willfully, wantonly, and/or in reckless disregard of

  Plaintiff’s federally protected rights.

          61.     The acts and omissions of each Defendant described herein, were the legal and

  proximate cause of Plaintiff’s damages.




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           62.   The acts and omissions of Defendants were engaged in pursuant to the customs,

  policies, and practices of Defendants Boulder County and Pelle, which encourage, condone,

  tolerate, and ratify the use of excessive force by their law enforcement officers.

           63.   The acts or omissions of Defendants caused Plaintiff damages in that he suffered

  severe pain, helplessness, and humiliation, resulting in serious physical and mental injuries and

  trauma.

                                 SECOND CLAIM FOR RELIEF
                       42 U.S.C. § 1983 – Fourteenth Amendment Violation
                                    Denial of Equal Protection
                                     Against Defendant Mecca

           64.   Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

  Claim.

           65.   Each of the individually named Defendants was acting under color of state law in

  their actions and inactions at all times relevant to this Claim.

           66.   At the time when Defendants tased Plaintiff, Plaintiff had a clearly established

  Fourteenth Amendment right to be free from discriminatory treatment by law enforcement.

           67.   Defendant Mecca acted with the purpose of depriving Plaintiff of the equal

  protection and benefits of the law, and equal privileges and immunities under the law, in

  violation of the Fourteenth Amendment to the United States Constitution.

           68.   Plaintiff is Black.

           69.   Plaintiff’s race of Black was a motivating factor in Defendant Mecca’s decision to

  tase Plaintiff, as well as in his decision regarding how much force to use.

           70.   Defendant Mecca treated Plaintiff less favorably than his similarly situated White

  counterparts, wholly or in part because Plaintiff is Black.

           71.   Defendant Mecca acted with an intent or purpose to discriminate against Plaintiff

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  because he is Black.

            72.   There was no rational basis for Defendant Mecca’s discriminatory actions, let

  alone a purpose narrowly tailored to serve a compelling governmental interest.

            73.   Defendant Mecca unlawfully used excessive force against Plaintiff, as described

  herein.

            74.   Defendant Mecca subjected or caused Plaintiff to be subjected to the deprivation

  of individual rights secured by the Fourteenth Amendment.

            75.   Defendant Mecca did not act upon a good faith and reasonable belief that his

  actions against Plaintiff based on racial bias were lawful.

            76.   Defendant Mecca’ acts or omissions were the moving force behind, and the

  proximate cause of, injuries sustained by Plaintiff.

            77.   Defendant Mecca’s actions and inactions, as described herein, were undertaken

  intentionally, maliciously, willfully, wantonly, and/or in reckless disregard of Plaintiff’s rights

            78.   Defendant Mecca’ acts or omissions caused Plaintiff damages in that he suffered

  severe pain, helplessness, and humiliation, resulting in serious physical and mental injuries and

  trauma.

                                 THIRD CLAIM FOR RELIEF 2
                       C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 25
                                          Excessive Force
                   Against Defendants Pelle, Mitchell, Martinez, Mecca, Domanico,
                     Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and Long

            79.   Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

  Claim.




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   Plaintiff brings these claims in good faith for the express purpose of extending and/or
  modifying existing precedent relating to C.R.S. § 13-21-131.
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          80.     Each of the individually named Defendants was acting under color of state law in

  their actions and inactions at all times relevant to this Claim.

          81.     Defendants are “peace officers” under C.R.S. § 24-31-901(3) employed by a local

  government and therefore subject to C.R.S. § 13-21-131.

          82.     Plaintiff had a protected Colo. Const. Art. II, Section 25 interest against

  deprivation of life, liberty, or property without due process of law. By causing excessive force to

  be used against Plaintiff, Defendants violated Plaintiff’s right to substantive due process under

  the law.

          83.     Each individually named Defendant engaged in use of force that was objectively

  unreasonable based on the facts and circumstances confronting them, violating Plaintiff’s rights.

          84.     Each individually named Defendant took an active part in the use of force, and no

  official intervened to prevent their fellow officers’ use of obviously excessive force. Under

  C.R.S. § 13-21-131(1) an official who fails to intervene is equally liable for the violation of an

  individual’s rights.

          85.     Defendants Pelle, Mitchell, and Martinez had a duty to train and supervise

  sheriffs, staff sergeants, captains, and other jail personnel on reasonable use of force against

  pretrial detainees.

          86.     Defendants Pelle, Mitchell, and Martinez failed to discharge this duty, causing the

  use of excessive force against Plaintiff.

          87.     Defendants Pelle, Mitchell, and Martinez acted recklessly, intentionally and with

  deliberate indifference to the constitutional rights of Plaintiff in failing to adequately train and

  supervise Defendant sheriffs, staff sergeants, captains, and other jail personnel.




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           88.    Defendants Pelle, Mitchell, and Martinez’s failure to properly train and supervise

  their subordinates was the moving force and proximate cause of the violation of Plaintiff’s

  constitutional rights.

           89.    Defendants’ respective actions and inactions, as described herein, were

  undertaken intentionally, maliciously, willfully, wantonly, and/or in reckless disregard of

  Plaintiff’s rights.

           90.    The acts and omissions of each Defendant described herein, were the legal and

  proximate cause of Plaintiff’s damages.

           91.    Defendants’ acts and omissions were engaged in pursuant to the customs,

  policies, and practices of Defendants Pelle, Mitchell, and Martinez, who encourage, condone,

  tolerate, and ratify the use of excessive force by their law enforcement officers.

           92.    Defendants’ acts or omissions caused Plaintiff damages in that he suffered severe

  pain, helplessness, and humiliation, resulting in serious physical and mental injuries and trauma.

                                FOURTH CLAIM FOR RELIEF 3
                       C.R.S. § 13-21-131 – Colo. Const. Art. II, Section 20
                                 Cruel and Unusual Punishment
                   Against Defendants Pelle, Mitchell, Martinez, Mecca, Domanico,
                     Finkbiner, Howlan, Fundaro, Metcalf, McDaniel, and Long

           93.    Plaintiff incorporates all other paragraphs of this Complaint for purposes of this

  Claim.

           94.    Each of the individually named Defendants was acting under color of state law in

  their actions and inactions at all times relevant to this Claim.




  3
   Plaintiff brings these claims in good faith for the express purpose of extending and/or
  modifying existing precedent relating to C.R.S. § 13-21-131.
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          95.     Defendants are “peace officers” under C.R.S. § 24-31-901(3) employed by a local

  government and therefore subject to C.R.S. § 13-21-131.

          96.     Plaintiff had a protected Colo. Const. Art. II, Section 20 interest against being

  subjected to cruel and unusual punishments. By causing excessive force to be used against

  Plaintiff, Defendants violated Plaintiff’s right to be free from cruel and unusual punishment.

          97.     Each individually named Defendant engaged in use of force that was objectively

  unreasonable based on the facts and circumstances confronting them, violating Plaintiff’s rights.

          98.     Each individually named Defendant took an active part in the use of force, and no

  official intervened to prevent their fellow officers’ use of obviously excessive force. Under

  C.R.S. § 13-21-131(1) an official who fails to intervene is equally liable for the violation of an

  individual’s rights.

          99.     Defendants Pelle, Mitchell, and Martinez had a duty to train and supervise

  sheriffs, staff sergeants, captains, and other jail personnel on reasonable use of force against

  pretrial detainees.

          100.    Defendants Pelle, Mitchell, and Martinez failed to discharge this duty, causing the

  use of excessive force against Plaintiff.

          101.    Defendants Pelle, Mitchell, and Martinez acted recklessly, intentionally and with

  deliberate indifference to the constitutional rights of Plaintiff in failing to adequately train and

  supervise Defendant sheriffs, staff sergeants, captains, and other jail personnel.

          102.    Defendants Pelle, Mitchell, and Martinez’s failure to properly train and supervise

  their subordinates was the moving force and proximate cause of the violation of Plaintiff’s

  constitutional rights.




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          103.    Defendants’ respective actions and inactions, as described herein, were

  undertaken intentionally, maliciously, willfully, wantonly, and/or in reckless disregard of

  Plaintiff’s rights.

          104.    The acts and omissions of each Defendant described herein, were the legal and

  proximate cause of Plaintiff’s damages.

          105.    Defendants’ acts and omissions were engaged in pursuant to the customs,

  policies, and practices of Defendants Pelle, Mitchell, and Martinez, who encourage, condone,

  tolerate, and ratify the use of excessive force by their law enforcement officers.

          106.    Defendants’ acts or omissions caused Plaintiff damages in that he suffered severe

  pain, helplessness, and humiliation, resulting in serious physical and mental injuries and trauma.

                                  FIFTH CLAIM FOR RELIEF 4
            Colo. Rev. Stat. § 13-21-131 – Violation of Colo. Const. Art. II, Section 25
                                    Denial of Equal Protection
                                     Against Defendant Mecca

          107.    Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

  forth herein.

          108.    Defendant Mecca acted under color of state law and within the course and scope

  of his employment at all times relevant to the allegations in this Complaint.

          109.    At all relevant times, Defendant Mecca was a “peace officer” under Colo. Rev.

  Stat. § 24-31-901(3) and was employed by a local government.

          110.    Plaintiff had a protected interested under Colorado Constitution, Article II,

  Section 25 to enjoy the equal protection of the laws, including the right to be free from racial

  discrimination in actions by law enforcement officers.



  4Plaintiff brings these claims in good faith for the express purpose of extending and/or
  modifying existing precedent relating to C.R.S. § 13-21-131.
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            111.   Defendant Mecca acted with the purpose of depriving Plaintiff of the equal

  protection and benefits of the law, and equal privileges and immunities under the law, in

  violation of Colorado Constitution, Article II, Section 25.

            112.   Plaintiff is Black.

            113.   Plaintiff’s race of Black was a motivating factor in Defendant Mecca’s decision to

  tase Plaintiff, as well as in his decision regarding how much force to use.

            114.   Defendant Mecca treated Plaintiff less favorably than his similarly situated White

  counterparts, wholly or in part because Plaintiff is Black.

            115.   Defendant Mecca acted with an intent or purpose to discriminate against Plaintiff

  because he is Black.

            116.   There was no rational basis for Defendant Mecca’s discriminatory actions, let

  alone a purpose narrowly tailored to serve a compelling governmental interest.

            117.   Defendant Mecca unlawfully used excessive force against Plaintiff, as described

  herein.

            118.   Defendant Mecca subjected or caused Plaintiff to be subjected to the deprivation

  of individual rights secured by the bill of rights of the Colorado Constitution.

            119.   Defendant Mecca did not act upon a good faith and reasonable belief that his

  actions against Plaintiff based on racial bias were lawful.

            120.   Defendant Mecca’s acts or omissions were the moving force behind, and the

  proximate cause of, injuries sustained by Plaintiff.

            121.   Defendant Mecca’s conduct described herein was attended by circumstances of

  malice, or willful and wanton conduct, which Defendant Mecca must have realized was

  dangerous, or that was done heedlessly and recklessly, without regard to the consequences, or of


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  the rights and safety of others, particularly Plaintiff.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

  and against Defendants, and award him all relief as allowed by law and equity, including, but not

  limited to the following:

              a. Declaratory relief and injunctive relief, as appropriate;

              b. Actual economic damages as established at trial;

              c. Compensatory damages, including, but not limited to those for past and future
                 pecuniary and non-pecuniary losses, emotional pain, suffering, mental anguish,
                 loss of enjoyment of life, medical bills, and other non-pecuniary losses;

              d. Punitive damages for all claims as allowed by law in an amount to be determined
                 at trial;

              e. Pre-judgment and post-judgment interest at the highest lawful rate;

              f. Attorneys’ fees and costs; and

              g. Such further relief as justice requires.

          PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.

          DATED this 21st day of September 2022.

                                                  KILLMER, LANE & NEWMAN, LLP

                                                  s/ Mari Newman
                                                  __________________________
                                                  Mari Newman
                                                  Andy McNulty
                                                  1543 Champa Street, Suite 400
                                                  Denver, CO 80202
                                                  (303) 571-1000
                                                  mnewman@kln-law.com
                                                  amcnulty@kln-law.com

                                                  ATTORNEYS FOR PLAINTIFF




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